Case 2:02-cv-02920-.]DVB-dkv Document 164 Filed 05/09/05 Page 1 of 3 Page|D 183

Fn.En rea
IN THE UNITED sTATEs DISTRICT COURT " '
FoR THE WESTERN DrsTRICT oF TENNESSEE 95 mr -9
WESTERN DivisloN

,` `,__;-;l/ Ig." .\1
JERRY L. BILLINGSLEY, ii;'jf“`"`€-§:.-- ':I-','i`;?' `

 

Plaintiff,
v. No. 02-2920 B

SHELBY COUNTY DEPARTMENT
OF CORREC'I`ION, et al.,

Defendants.

 

ORDER OVERRULING OBJECTIONS OF THE PLAINTIFF AND
AFFIRMING THE ORDER OF THE MAGISTRATE JUDGE ON
MENTAL EVALUATION OF THE PLAINTIFF

 

On February 25, 2005, the Defendants, Shelby County, Jon Kirkland and J. Ford, moved
jointly for a mental evaluation of the gm §§ Plaintiff, Jerry L. Billingsley. After the Plaintiff failed
to respond, the Court directed that the evaluation be conducted in an order entered March l, 2005 .
On March ll, 2005, the Plaintiff filed a motion in opposition to the mental evaluation, Which Was
referred to the magistrate judge for determination Billingsley did not object to the evaluation itseif,
but, as set forth in his motion, contended that the Defendants refused to conduct it pursuant to an
agreement by the parties. ln particular, Billingsley took issue With the selection of the examiner
The Defendants, on the other hand, denied the existence of an agreement Fol]owing the entry of an
order denying the motion on April 22, 2005, an objection Was filed by the Plaintiff, in Which he
argued that the Defendants‘ selection of the examiner, Dr. William Wolters, a forensic psychiatrist,
Would be prejudicial to his case.

Rule 35 of the Federal Rules of Civil Procedure, Which governs physical and mental

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with Flu!e 58 and/or 79(3) FHCP on __E

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Case 2:`02-cv-02920-.]D\|§-dl<v Document 164 Filed 05/09/0\5 Page 2 of 3 Page|D 184

evaluations of persons involved in civil matters, requires that such examinations be performed by
"a suitably licensed or certified examiner." Fed. R. Civ. P. 35(a). The Rule does not mandate the
manner in Which the examiner may be chosen. ln this case, the magistrate judge concluded that
Billingsley had come forth With no evidence to suggest an examination by Dr. Wolters Would be
prejudicial In his objections to the order, the Plaintiff restates his position, but offers, as was the
case before the magistrate judge, nothing more than conjecture in support thereof

Accordingly, upon a review of the relevant pleadings, the Court finds that the magistrate
judge's decision Was neither clearly erroneous nor contrary to laW. §§ Fed. R. Civ. P. 72(a). Thus,
the Plaintiff‘s objections are OVERRULED and the magistrate judge's order is AFFIRMED.

IT Is so oRDERED this j'_ day of May, 2005.

/

.D NIEL BREEN \
uNI ED sTArEs DrsrRicT JUDGE

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This notice confirms a copy of the document docketed as number 164 in
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Honorable .l. Breen
US DISTRICT COURT

